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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-CR-60078-RAR

  UNITED STATES OF AMERICA

  vs.

  ANDY TOVAR,

        Defendant.
  ______________________________/

               ORDER GRANTING MOTION REQUESTING APPOINTMENT
                 OF LEARNED COUNSEL PURSUANT TO 18 U.S.C. § 3005

         THIS CAUSE comes before the Court on the Motion Requesting Appointment of Learned

  Counsel Pursuant to 18 U.S.C. § 3005 [ECF No. 78] (“Motion”). The Court having considered

  the pertinent portions of the record, and being otherwise fully advised, it is hereby

         ORDERED AND ADJUDGED that the Motion is GRANTED. CJA Attorney Edward

  J. Ungvarsky, Esq. is hereby appointed as second attorney to serve as Learned Counsel to represent

  Defendant Andy Tovar in this matter for criminal representation during the death penalty

  authorization process within the Department of Justice.



         DONE AND ORDERED in Miami, Florida this 27th day of January, 2023.




                                                         _________________________________
                                                         RODOLFO A. RUIZ II
                                                         UNITED STATES DISTRICT JUDGE
  cc:    All Parties of Record
